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amelie emi Ua mailer 1-8

United States Bankruptcy Court for the:

District of
(State) wer? ‘

Case number (if known): Chapter jt : UL) Check if this is an
soa a . amended filin
IB OE -L P 208 9

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

41. Debtor’s name Ao ro A YU bo Car den S Z LZ C

2. All other names debtor used

in the last 8 years

Include any assumed names,

trade names, and doing business
as names

3. Debtor’s federal Employer 47] 3 23 S / S_ 2—

Identification Number (EIN) 9 ~~ eee

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
ae 1
FYSRO Bay far Ewa,
Number Street (_/ UO Number Street
kc P.O. Box
a] ~
B yoo (a Dd ¢ I/ G50
City v State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

Number Street

City State ZIP Code

5. Debtor’s website (URL)

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Debtor Lo 0 / - 6 Cas ders L CC Case number (if known)

Name

Wecorporation {including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
() Partnership (excluding LLP)
LJ Other. Specify:

6. Type of debtor

. . A. Check one:
7. Describe debtor's business

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
PAsingle Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C1) Railroad (as defined in 11 U.S.C. § 101(44))

() Stockbroker (as defined in 14 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

Q Clearing Bank (as defined in 11 U.S.C. § 781(3))

L) None of the above

B. Check all that apply:

Q Tax-exempt entity (as described in 26 U.S.C. § 501)

LJ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

(] Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts. gov/four-digit-national-association-naics-codes .

8. Under which chapter of the Check one:

Bankruptcy Code is the :
debtor filing? cng 7 Sz

Chapter 9

Si ABP chapter 11. Check all that apply:
A debtor who is a “small business

debtor" must check the first sub- C) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
box. A debtor as defined in aggregate noncontingent liquidated debts (excluding debts owed to insiders or

§ 1182(1) who elects to proceed affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
under subchapter V of chapter 11 recent balance sheet, statement of operations, cash-flow statement, and federal
(whether or not the debtor is a income tax return or if any of these documents do not exist, follow the procedure in
“small business debtor”) must 11 U.S.C. § 1116(1){B).

check the second sub-box. L) The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate

noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

C3 A plan is being filed with this petition.

O Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C} The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Aftachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

CJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

QO) Chapter 12

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Debtor

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Poohee Gardens

CLC

Name

Case number (if known)

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

11. Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

No

Yes.

iw No
C] Yes.

District When

MM/ DD/YYYY

District When

MM / DD/YYYY

Debtor

District

Case number, if known

Check all that apply:

Case number

Case number

Relationship

When

MM / DD /YYYY

4 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

CHA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

EENo

LJ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check ail that apply.)

C} it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

L) It needs to be physically secured or protected from the weather.

(J It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related

assets or other options).

CL) Other

Where is the property?

Number Street

City

Is the property insured?

CI No

QC) Yes. insurance agency

State ZIP Code

Contact name

Phone

a Statistical and administrative information

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Debtor Le hub Car dens CLE

Case number (i known).

13. Debtor’s estimation of Check one:

available funds

Q Funds will be available for distribution to unsecured creditors.

L) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

Al is9

14. Estimated number of QO 50-99
creditors 0) 100-199
LJ 200-999
C2 $0-$50,000

15. Estimated assets Q) $50,001-$100,000

QQ $100,001-$500,000
a $500,001-$1 million

L) $0-$50,000

CY $50,001-$100,000
LJ $100,001-$500,000
90 $500,001-$1 million

16. Estimated liabilities

CJ 1,000-5,000
(J 5,001-10,000
LJ 10,001-25,000

C) $1,000,001-$10 million

C] $10,000,001-$50 million
C) $50,000,001-$100 million
(2 $100,000,001-$500 million

CJ $1,000,001-$10 million

LI $10,000,001-$50 million
C2 $50,000,001-$100 million
QO) $100,000,001-$500 million

C) 25,001-50,000
QC) 50,001-100,000
QC) More than 100,000

CJ $500,000,001-$1 billion

(2 $1,000,000,001-$10 billion
CI $10,000,000,001-$50 billion
UI More than $50 billion

CQ) $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
Q) $10,000,000,001-$50 billion
QO) More than $50 billion

ca Request for Relief, Dectaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

2 U 75>

MM /DD/YYYY

% SLA ¢ Ps

Signature of authorized representative of debtor

-
Title Own

Executed on

shlomd

Printed name

Epste wy

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Debtor

Name

18. Signature of attorney

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x

Case number (if known)

Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code

Contact phone

Email address

Bar number

State

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: Case No.
Chapter
Debtor(s)
x
AFFIRMATION OF FILER(S)

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: Daw J KA da oo

Address: [RO Cc. kk Viq~e-” <t

Email Address: ALAA O46 A ama [ cowl

Phone Number: (AN7_) Sevs27y- G22 3

Name of Debtor(s):

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING: :

/_ I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:
I WAS NOT PAID.

I WAS PAID.
Amount Paid: $

I/We hereby affirm the information above under the penalty of perjury.

nave 14 ]25 ) a

Filer’s Signature

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pi At / /L4 }

a
See

DM rewestes oe
\foo Coney island Aw

Peelyy wy 1123 ©

